

Matter of Shim (2023 NY Slip Op 03749)





Matter of Shim


2023 NY Slip Op 03749


Decided on July 6, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 6, 2023

PM-138-23
[*1]In the Matter of Jeff Jinsoo Shim, an Attorney. (Attorney Registration No. 5603121.)

Calendar Date:June 26, 2023

Before:Lynch, J.P., Clark, Pritzker, Fisher and McShan, JJ.

Jeff Jinsoo Shim, Kirkland, Washington, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jeff Jinsoo Shim was admitted to practice by this Court in 2018 and lists a business address in Kirkland, Washington with the Office of Court Administration. Shim now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Shim's application.
Upon reading Shim's affidavit sworn to April 27, 2023 and filed May 9, 2023, and upon reading the June 22, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Shim is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Pritzker, Fisher and McShan, JJ., concur.
ORDERED that Jeff Jinsoo Shim's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Jeff Jinsoo Shim's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jeff Jinsoo Shim is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Shim is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jeff Jinsoo Shim shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








